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                      UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS
__________________________________________
                                          )
AMERICAN ACADEMY OF PEDIATRICS,            )
MASSACHUSETTS CHAPTER OF AMERICAN )
ACADEMY OF PEDIATRICS, INC.,               )
AMERICAN CANCER SOCIETY, INC.,             )
AMERICAN CANCER SOCIETY CANCER             )
ACTION NETWORK, INC., AMERICAN             )
HEART ASSOCIATION, INC., AMERICAN         )
LUNG ASSOCIATION, CAMPAIGN FOR             )
TOBACCO-FREE KIDS, TRUTH INITIATIVE )        Civil Action No. 16-cv-11985 (IT)
FOUNDATION D/B/A TRUTH INITIATIVE,         )
DR. TED KREMER, DR. JONATHAN              )
WINICKOFF and DR. LYNDA YOUNG,             )
                                           )
                              Plaintiffs,  )
      v.                                   )
                                           )
UNITED STATES FOOD AND DRUG                )
ADMINISTRATION                             )
                                           )
                              Defendant.   )
__________________________________________)

   FIRST SUPPLEMENT TO DEFENDANT’S LOCAL RULE 56.1 STATEMENT OF
                    UNDISPUTED MATERIAL FACTS

       Defendant wishes to apprize the Court of a matter that affects Defendant’s Local Rule

56.1 Statement of Undisputed Material Facts (ECF No. 35; filed 5/26/2017). In paragraphs 25

through 27 of that statement (addressing step (g)), Defendant explained the review and approval

process that must be completed before the United States Food and Drug Administration (FDA)

may undertake its initial quantitative study to assess warning statement text. FDA is currently

awaiting the Office of Management and Budget’s (OMB’s) decision regarding approval of that

proposed study.

       FDA is similarly awaiting OMB’s decision regarding approval of the final qualitative test

of images described in paragraph 23, pursuant to step (c).
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       This status affects FDA’s prior estimates regarding when its research plan will be

completed (previously, May 2019, per the final sentence of paragraph 29) and when a final rule

may be submitted for publication (previously, July 2021, per the final sentence of paragraph 37),

postponing both of those dates by approximately four months. That changes the estimated date

for completion of research to September 2019 and submission of a final rule to November 2021.


Dated: January 22, 2018

                                                Respectfully submitted,

                                                ETHAN P. DAVIS
                                                Deputy Assistant Attorney General

                                                GUSTAV W. EYLER
                                                Acting Director

                                                ANDREW E. CLARK
                                                Assistant Director
                                                Consumer Protection Branch

                                                    /s/ Daniel K. Crane-Hirsch
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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as nonregistered participants on today’s date.


       /s/ Daniel K. Crane-Hirsch
       January 22, 2018




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